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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                   )
                                                )
     v.                                         ) Crim. No. 1:17-CR-10260-LTS
                                                )
     QUANG PT LE                                )

          DEFENDANT’S SUPPLEMENTAL MOTION TO PRO SE MOTION
           (ECF NO. 302) FOR IMMEDIATE COMPASSIONATE RELEASE
                        UNDER 18 U.S.C. § 3582(c)(1)(A)1
I.   INTRODUCTION

            On February 13, 2018, Quang Le pleaded guilty to indictments of

     kidnapping (18 U.S.C. § 1201(a)(1)), conspiracy to collect extensions of credit

     by extortionate means (18 U.S.C. § 894(a)), and operating an illegal gambling

     business (18 U.S.C. § 1955). The Court later sentenced him on May 8, 2018 to

     72 months’ imprisonment on the kidnapping and extortion charges and a

     concurrent term of 60 months’ imprisonment on the illegal-gambling charge,

     with concurrent three-year terms of supervised release on all three charges

     following his release from prison.2 Mr. Le is now serving the committed portion

     of his sentence at FCI McDowell; his projected release date is October 2, 2022.3

            A motion for compassionate release does not seek to relitigate the

     sentencing hearing. Rather, this motion asks the Court for compassionate

     release given Mr. Le’s medical condition, a raging pandemic, and the


     1 On January 28, 2021, after counsel had already been appointed for that purpose, Mr. Le filed
     a Pro Se Motion for Compassionate Release (see ECF No. 302), for reasons unclear. This Court
     later allowed counsel’s motion to file this supplement to Mr. Le’s pro se motion.
     2 Mr. Le’s codefendants, Vinh Huynh and Kim Nguyen, both of whom pleaded guilty to identical

     charges after Mr. Le did, were each sentenced to a year or less of committed time; both have
     long since been released.
     3 Mr. Le had previously been held at Moshannon Valley Correctional Center, but was recently

     transferred after the Bureau of Prisons declined to renew its contract with that facility. See
     GEO’s Moshannon Valley Correctional Facility Loses Federal Contract, Courtier Express (Jan.
     21, 2021), http://www.thecourierexpress.com/news/geos-moshannon-valley-correctional-
     facility-loses-federal-contract/article_c7896d80-0dc6-5cb4-a1b0-9bce70879317.html.


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demonstrated inability of an overwhelmed federal prison system to keep him

safe and well.

       Indeed, that system has already failed him: shortly before Thanksgiving,

Mr. Le was diagnosed with COVID-19, after presenting with fever, chills,

muscle pain, headache, and loss of taste or smell. See Exhibit A (Quang Le

Medical Records), at 8, 31. Although Mr. Le appeared to recover after some

days, see id. at 2-26, he has more recently shown symptoms such as difficulty

breathing, weakness, and memory loss. See ECF No. 302, at 5. Those

symptoms are all consistent with what health experts have come to call “long

haul” COVID-19,4 and they suggest that his bout with the virus has left his

health significantly compromised, perhaps permanently.5

       Nor has the risk to Mr. Le from the virus peaked. Much is still unknown

about COVID-19, but mounting evidence suggests that one can contract the

virus again even after having it once already, so Mr. Le remains at risk for

reinfection. Although a vaccine is now available, health experts are still unsure

whether patients with “long haul” symptoms like Mr. Le can safely take it.6 The

virus is still present at FCI McDowell, where at last count two inmates and five




4 See, e.g., Anthony Komaroff, The Tragedy of Long COVID, Harvard Health Blog (Oct. 15,
2020), https://www.health.harvard.edu/blog/the-tragedy-of-the-post-covid-long-haulers-
2020101521173.
5 See, e.g., Mayo Clinic, COVID-19 (Coronavirus): Long-Term Effects (Nov. 17, 2020),

https://www.mayoclinic.org/diseases-conditions/coronavirus/in-depth/coronavirus-long-
term-effects/art-20490351 (noting potential risk that COVID-19 may damage patient’s heart,
lungs, or brain, increasing risk of future complications related to those organs).
6 See UC Davis Health, Long Haulers: Why Some People Experience Long-Term Coronavirus

Symptoms (Feb. 8, 2021), https://health.ucdavis.edu/coronavirus/covid-19-
information/covid-19-long-haulers.html (“Researchers still don't know much about what
causes long hauler symptoms and why they experience such long-term effects. Our infectious
disease experts say you should ask your physician before scheduling an appointment to get a
COVID-19 vaccine.”).


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      staff are infected,7 and prison conditions still make it impossible to provide

      effective protection from the virus to inmates like Mr. Le in a carceral setting.

      And if Mr. Le does contract COVID-19 again, his diminished physical health

      likely puts him at greater risk for worse—potentially fatal—health outcomes

      next time around.

            It need not be this way. Because he has exhausted all possible avenues

      for administrative release and otherwise qualifies for relief under 18 U.S.C.

      § 3582(c), this Court can authorize Mr. Le’s immediate release to Dorchester,

      Massachusetts where his uncle, Hai Phi, as well as Mr. Le’s parents,

      grandfather, and adult brother reside in a home that Mr. Phi owns. If Mr. Le is

      released, his family will be able to pick him up from McDowell, and he will self-

      quarantine for two weeks once released to ensure no spread of COVID-19 into

      the community if he is still infectious. To safeguard what remains of Mr. Le’s

      health, the Court should order his immediate release.

II.   FACTUAL BACKGROUND

            As mentioned, Mr. Le already fell ill to COVID-19 back in November

      2020. On November 20, he reported to prison medical staff at Moshannon

      Valley Correctional Center, where he was then held, “I feel hot when I take a

      deep breath [and have] pain in my body.” Exhibit A at 31. He presented with a

      high fever (nearly 103°F), and reported chills, repeated shaking, muscle pain,

      headache, fatigue and a recent loss of taste or smell. Id. The next day, he

      tested positive for COVID-19 and was quarantined until the end of November.



      7See Bureau of Prisons, BOP: COVID-19 Update, https://www.bop.gov/coronavirus (accessed
      Mar. 16, 2021).


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Id. at 8.

         Although his condition appeared to improve over that time, see id. 9-26,

more recently in his pro se motion Mr. Le has reported “worrisom[e] symptoms

that are still affecting [him],” including “difficult[y] in breathing, memory los[s],

extreme weakness, and more.” ECF No. 302 at 5. All these appear consistent

with what has come to be known in the medical community as “long haul”

COVID-19. As the federal Centers for Disease Control and Prevention (CDC)

explains, “some [COVID] patients can have symptoms that can last for weeks or

even months after recovery from acute illness,” and even some lucky enough to

avoid hospitalization later report “experienc[ing] persistent or later symptoms.”

CDC, Long-Term Effects of COVID-19 (Nov. 13, 2020).8 Indeed, some medical

experts worry about “[m]ore serious long-term complications” from the virus—

including potential cardiovascular, respiratory, and even neurological

damage—that these “long haul” symptoms may portend. Id.; Mayo Clinic, supra

n.5 (“Although COVID-19 is seen as a disease that primarily affects the lungs,

it can damage many other organs as well. This organ damage may increase the

risk of long-term health problems.”).

         Mr. Le is still at risk from the virus. As mentioned, mounting evidence

suggests that the risk of being reinfected with COVID-19—contracting the virus

and overcoming it once, only to contract it again—is real. See, e.g., Galit Perez,

et al., A 1 to 1000 SARS-CoV-2 Reinfection Proportion in Members of a Large

Healthcare Provider in Israel: A Preliminary Report (Mar. 8, 2021).9 Indeed, if



8   https://www.cdc.gov/coronavirus/2019-ncov/long-term-effects.html.
9   https://www.medrxiv.org/content/10.1101/2021.03.06.21253051v1.


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anything the risk of reinfection is likely underestimated, especially in the

United States, because the number of confirmed cases of reinfection is

“constrained by the limited number of U.S. labs that retain covid testing

samples or perform genetic sequencing.” JoNel Aleccia, Why the U.S. Is

Underestimating Covid Reinfection, KHN (Feb. 8, 2021) (“A KHN review of

surveillance efforts finds that many U.S. states aren’t rigorously tracking or

investigating suspected cases of reinfection.”).10 Federal courts likewise have

begun to “recognize[ ] that the risk of re-infection from the virus is a significant

concern.” United States v. Gould, No. 1:17-cr-00150-JL, slip op. at 4 (D.N.H.

Dec. 21, 2020) (collecting cases).

         Simply put, that Mr. Le already battled the virus and won is no guaranty

that he is now immune. That he now presents with “long haul” symptoms also

makes vaccination a much more uncertain question: at least some health

experts have recommended caution, since neither “long haul” COVID-19 nor

the vaccines’ potential effects on it are yet well understood. See UC David

Health, supra n.6. And given the danger that COVID-19 has left Mr. Le’s health

compromised, perhaps with lasting systemic damage, Mr. Le is now at greater

risk for much worse—perhaps even fatal—health outcomes should he contract

the virus again.

         That is especially true in a carceral setting such as FCI McDowell, given

the endemic failure of prisons and jails to provide adequate health care,

particularly to inmates with chronic conditions. See, e.g., Andrew P. Wilper, et

al., The Health and Health Care of US Prisoners: Results of a Nationwide Survey,


10   https://khn.org/news/article/why-the-u-s-is-underestimating-covid-reinfection/.


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99 Am. J. Pub. Health 666 (Apr. 2009) (finding that “[m]any inmates with a

serious chronic physical illness fail to receive care while incarcerated”).11

Indeed, Mr. Le’s medical records show that several of his scheduled medical

appointments were not held following his bout with COVID-19 at Moshannon

Valley, citing COVID-related movement restrictions. See Exhibit A at 3, 5, 7. It

is unknown whether the situation will prove materially better at FCI McDowell;

Mr. Le’s access to healthcare should not be left to chance in any case.

       The carceral setting, of course, also makes it far more likely that Mr.

Le will contract the virus again because, “[i]f the coronavirus were to design

its ideal home, it would build a prison.” Barbara Bradley Hagerty, Releasing

People from Prison Is Easier Said Than Done, The Atlantic (July 8, 2020). 12

Two features make the spread of COVID-19 within prison a virtual

inevitability: close quarters and asymptomatic transmission. The risk of

transmitting COVID-19 also goes up with sustained contact such as by

sharing the same air space for a prolonged time—exactly the setting for

staff and detainees in correctional facilities like FCI McDowell. 13 And as the

CDC has warned, “[a]s many as 25 percent of people infected with the new

coronavirus may not show symptoms ... a startlingly high number that

complicates efforts to predict the pandemic's course and strategies to

mitigate its spread.”14 None of the Bureau of Prisons’ (BOP) current


11 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2661478/pdf/666.pdf.
12 https://www.theatlantic.com/ideas/archive/2020/07/releasing-people-prison/613741/.
13 Lidia Morawska, et al., It is Time to Address Airborne Transmission of Covid-19, 71 Clinical

Infectious Diseases 2311 (Nov. 2020), https://academic.oup.com/cid/advance-article/doi/10.
1093/cid/ciaa939/5867798.
14Apoorva Mandali, Infected but Feeling Fine: The Unwitting Coronavirus Spreaders, N.Y. Times
(Mar. 31, 2020), https://nyti.ms/39DtaN5.


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mitigation protocols accounts for these factors. Indeed, despite those

measures, the disease continues to spread like wildfire in federal prisons.

As of this writing, there have been 54,319 confirmed cases of COVID-19

within the BOP (47,733 inmates and 6,586 staff). 225 federal inmates have

died from the virus. Id. In contrast, on May 6, 2020, there were 3,173

confirmed cases in BOP and 42 deaths. See BOP, supra n.7.

       The only way to protect inmates like Mr. Le from the grave risks that

COVID-19 presents is to comply with CDC recommendations for avoiding

infection, especially (given the risk of asymptomatic transmission) social

distancing.15 Yet, as widely recognized, that guidance is almost impossible

to follow in a carceral setting. See, e.g., Gould, slip op. at 5 (“[C]ourts have

found that prison is an environment that increases the likelihood of

transmission of diseases including COVID-19.”); Hagerty, supra n.12

(“Inmates are packed together day and night; social distancing, frequent

hand-washing, and mask wearing are fantasies.”). It is thus unsurprising

that the spread of COVID-19 within BOP is almost double that of the rest of

the country,16 or that public health experts still maintain that, even with an

effective vaccination strategy now in place, decarceration is mandatory if the

lives of prisoners like Mr. Le are to be saved. See Bejamin A. Barsky, et al.,

Perspective: Vaccination Plus Decarceration—Stopping Covid-19 in Jails and

Prisons, New Eng. J. Med. (Mar. 3, 2021). 17


15 See generally CDC, Prevent Getting Sick (Jan. 7, 2021), https://www.cdc.gov/coronavirus/
2019-ncov/prevent-getting-sick/index.html.
16 Compare https://federaldefendersny.org/assets/uploads/BOP_Compared_to_U.S.4.20.pdf

with https://federaldefendersny.org/assets/uploads/Rate_of_Infections.4.20.pdf. These charts
were created by the Federal Defenders of New York based on CDC and BOP data.
17 https://www.nejm.org/doi/full/10.1056/NEJMp2100609.




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III.   ARGUMENT

   A. THIS COURT HAS BROAD AUTHORITY TO RESENTENCE MR. LE UNDER
      18 U.S.C. § 3582(c)(1)(A)(i) FOR “EXTRAORDINARY AND COMPELLING
      REASONS.”

              Under 18 U.S.C. § 3582(c)(1)(A)(i), as relevant here, this Court has the

       statutory authority to “reduce the term of imprisonment ... if it finds that ...

       extraordinary and compelling reasons warrant such a reduction.”18 What

       counts as “extraordinary and compelling reasons warrant[ing] such a

       reduction” is not self-evident from the text but derives its meaning from U.S.

       Sentencing Commission (Commission) guidance and the provision’s history

       from its original enactment in the 1980s through the passage of the First Step

       Act in 2018.

              Congress first enacted the modern form of the compassionate release

       statute, codified at 18 U.S.C. § 3582(c), as part of the Comprehensive Crime

       Control Act of 1984. As originally enacted, Congress required the Director of

       BOP to move for the court to resentence the defendant; unless BOP did so, the

       sentencing court had no authority to modify a prisoner’s sentence to effect a

       compassionate release. The original statute also left open what constitutes an

       “extraordinary and compelling reason” for resentencing under Section 3582(c).

       Even so, the statute’s legislative history suggested how Congress thought

       federal courts should use it. In particular, the Senate Report stressed that

       some cases, despite the abolition of federal parole, may warrant a second look

       at resentencing:


       18The preceding quotation elides other statutory requirements, such as exhaustion and
       consideration of applicable sentencing factors under 18 U.S.C. § 3553(a), that are addressed
       separately below.


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            The Committee believes that there may be unusual
            cases in which an eventual reduction in the length of a
            term of imprisonment is justified by changed
            circumstances. These would include cases of severe
            illness, cases in which other extraordinary and
            compelling circumstances justify a reduction of an
            unusually long sentence, and some cases in which the
            sentencing guidelines for the offense of which the
            defendant was convicted have been later amended to
            provide a shorter term of imprisonment.

S. Rep. No. 98-225, at 55-56 (1983) (emphasis added).

      Congress initially delegated responsibility for defining “extraordinary and

compelling reasons” to the U.S. Sentencing Commission (Commission). See 28

U.S.C. § 994(t). After nearly a generation, the Commission finally fulfilled that

mandate, issuing largely general guidance that “extraordinary and compelling

reasons” may include medical conditions, age, family circumstances, and “other

reasons.” U.S.S.G. § 1B1.13, app. n. 1(A).

      Even that broad definition, however, did little to spur BOP to seek relief

for prisoners who might have met it. And after a Department of Justice (DOJ)

Inspector General Report criticized the BOP for rarely using its statutory

authority to seek reduced sentences, the Commission acted again in 2016 by

amending its policy statement on “compassionate release.” See U.S.S.G. §

1B1.13 Amend. (11/1/2016); see also U.S. DOJ, Office of the Inspector

General, The Federal Bureau of Prisons’ Compassionate Release Program, I-

2023-006 (Apr. 2013). The 2016 policy statement both admonished the BOP for

its inaction and broadened the eligibility criteria for sentencing courts. See

U.S.S.G. § 1B1.13, n.4; see also United States v. Dimasi, 220 F. Supp. 3d 173,

175 (D. Mass. 2016) (discussing history of the BOP, DOJ and Commission’s




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roles in developing guidance for “compassionate release” motions). To that end,

the Commission expanded the list of “extraordinary and compelling reasons”

for resentencing beyond medical illness, age, and family circumstances. Id.,

n.1(A) (including catch-all category for “Other Reasons,” to capture “an

extraordinary and compelling reason other than, or in combination with, the

reasons described in subdivisions (A) through (C)”).

      Even so, the Commission’s actions still failed to prompt the BOP to take

a more active role on behalf of inmates satisfying the Commission’s

compassionate-release criteria. In fact, during the more than three decades

that the BOP served as the gatekeeper for compassionate-release motions, it

did almost nothing to carry out Congress’s intent for § 3582(c) to provide a

safety valve to correct injustices or allow relief for “extraordinary and

compelling reasons.”

      In 2018, with the passage of the First Step Act, Congress finally remedied

the BOP’s dereliction. See P.L. 115-391, 132 Stat. 5194 (2018). Section 603 of

the First Step Act changed the procedure for seeking compassionate release

under § 3582(c)(1)(A): instead of trusting the BOP Director to determine

whether “extraordinary and compelling reasons” support release, a court can

now resentence “upon motion of the defendant,” after the inmate has

exhausted administrative remedies with the BOP, or after 30 days from the

warden’s receipt of the inmate’s request for compassionate release, whichever

happens first. 18 U.S.C. § 3582(c)(1)(A). Thus, under the First Step Act, a

defendant need not secure the BOP’s assent to obtain resentencing; instead,

courts may consider the defendant’s motion, even if the BOP opposes it, and



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   order resentencing under 18 U.S.C. § 3582(c)(1)(B).

          This Court thus has relatively broad authority to resentence Mr. Le for

   “extraordinary and compelling reasons” if § 3582(c)(1)(A)’s procedural

   requirements are met. As explained in the following sections, they are.

B. MR. LE HAS MET THE 30-DAY REQUIREMENT FOR EXHAUSTION OF
   ADMINISTRATIVE REMEDIES, AND IN ANY EVENT THE COURT CAN
   WAIVE THEM UNDER 18 U.S.C. § 3582(c)(1)(A) BECAUSE OF THE URGENT
   RISK OF FATAL INFECTION

          As mentioned, under § 3582(c)(1)(A), inmates ordinarily must either wait

   at least thirty days after the warden’s receipt of a compassionate release

   request, or exhaust all administrative remedies before going to court, whichever

   happens earlier. See 18 U.S.C. § 3582(c)(1)(A). As stated in his pro se motion,

   Mr. Le satisfied that requirement by submitting requests for release to the

   warden or warden’s designee at Moshannon Valley (where he previously was

   held) in December 2020. See ECF No. 302, at 3. At least one of those requests

   appears to have been denied in early January, see id., Mr. Le’s pro se motion

   was filed at least 30 days after the earlier request, and this supplemental

   motion is filed well after both in any event. The statutory exhaustion

   requirement is thus met.

          In any event, however, the Court may waive the requirement consistent

   with longstanding precedent.19 Courts have forgiven failures to exhaust, for

   example, when “‘special circumstances’ have been plausibly alleged that ‘justify


   19 The exhaustion requirement under the First Step Act is not jurisdictional. Like analogous
   provisions of 28 U.S.C. § 2241 and the Prison Litigation Reform Act, § 3582(c)(1)(A) “lacks the
   ‘sweeping and direct language that would indicate a jurisdictional bar rather than a mere
   codification of administrative exhaustion requirements.’” Richardson v. Goord, 347 F.3d 431,
   434 (2d Cir. 2003) (citation omitted); see also Atkinson v. Linaweaver, No. 13 CIV. 2790 JMF,
   2013 WL 5477576, at *1 (S.D.N.Y. Oct. 2, 2013) (“In a case brought pursuant to Section 2241,
   exhaustion ... does not go to the Court’s jurisdiction to adjudicate the dispute”).


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the prisoner’s failure to comply with administrative procedural requirements.’”

Hemphill v. New York, 380 F.3d 680, 686 (2d Cir. 2004) (citation omitted);

accord Carmona v. U.S. Bur. of Prisons, 243 F.3d 629, 634 (2d Cir. 2001).

Courts also “excuse the exhaustion requirement if a petitioner demonstrates

that pursuing appeals through the administrative process would be futile or

that the appeals process is inadequate to prevent irreparable harm to the

petitioner.” United States v. Khan, 540 F. Supp. 2d 344, 350 (E.D.N.Y. 2007). 20

       Both reasons—futility and the potential for irreparable harm—favor

waiving the 30-day exhaustion period for Mr. Le. As discussed above, Mr. Le

seeks emergency relief here to avoid contracting COVID-19 again and suffering

serious, even fatal complications from the disease. Each day that he remains

imprisoned at FCI McDowell, where the virus has already entered the facility, is

another day that he remains at high risk of contracting it, with potentially

deadly consequences. Waiting for Mr. Le to exhaust administrative remedies

would only increase his risk of exposure to COVID-19, and with it the risk that

any resentencing would come too late.

       It is honestly hard to imagine a starker example of “irreparable harm.”



20 The First Step Act has not abrogated these principles, see United States v. Bolino, No. 06-CR-
0806 (BMC), 2020 WL 32461, at *1 (E.D.N.Y. Jan. 2, 2020), and federal courts across the
country have continued to waive administrative exhaustion requirements under the First Step
Act when appropriate. See, e.g., Washington v. Bur. of Prisons, No. 1:19-CV-01066, 2019 WL
6255786, at *2 (N.D. Ohio July 3, 2019) (recognizing that “[t]he failure to exhaust
administrative remedies may be excused if seeking administrative remedies would be futile” in
addressing motion for recalculation of good time credit under First Step Act); United States v.
Walker, No. 3:10-cr-00298-RRB-1, slip op. at 1 (D. Or. Feb. 7, 2019) (finding that, despite
failure to exhaust administrative remedies, jurisdiction lay to order recalculation of defendant’s
good time credit under the First Step Act and order release if term of imprisonment had
expired); see also Gurzi v. Marques, No. 18-CV-3104- NEB-KMM, 2019 WL 6481212, at *2 (D.
Minn. Oct. 10, 2019) (recognizing that “the Court ... has the authority to proceed to the merits
of the case rather than rely on a failure to exhaust when appropriate” before addressing
prisoner’s objections to his designation, in part under First Step Act).


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   For that reason, many courts have recently granted compassionate release for

   inmates in situations like Mr. Le’s, irrespective of any failure to exhaust. See,

   e.g., United States v. Colvin, 451 F. Supp. 3d 237, 240 (D. Conn. 2020); United

   States v. Perez, 451 F. Supp. 3d 288, 292-93 (S.D.N.Y. 2020). This Court

   should do the same.

C. THE CONDITIONS OF BOP INCARCERATION FOSTER THE SPREAD OF
   COVID-19, AND MR. LE’S MEDICAL CONDITION RENDERS HIM
   SUSCEPTIBLE TO AN INTOLERABLE RISK

          As discussed earlier, the conditions endemic to correctional facilities like

   FCI McDowell create an ideal environment in which contagious viruses like

   COVID-19 can spread. Public health experts are unanimous in their consensus

   that incarcerated individuals “are at special risk of infection, given their living

   situations” and “may also be less able to participate in proactive measures to

   keep themselves safe,” and they agree as well that “infection control is

   challenging in these settings.”21

          Within such a setting, Mr. Le has no way to take the prophylactic self-

   care measures that the CDC recommends for staying safe from COVID-19

   infection. He cannot self-quarantine or partake in “social distancing” at FCI

   McDowell. He lives in a high-density custodial setting, precisely the kind of

   spaces that caused alarmingly high spread rates of COVID-19 in New York City

   during the height of infections there.22 Hand sanitizer, recommended by the




   21 Achieving a Fair and Effective COVID-19 Response: An Open Letter to Vice-President Mike
   Pence, and Other Federal, State, and Local Leaders from Public Health and Legal Experts in the
   United States (Mar. 2, 2020), at 4, https://bit.ly/2W9V6oS.
   22 White House Tells Travelers from New York to Isolate as City Cases Soar, N.Y. Times (Mar.

   24, 2020), at https://www.nytimes.com/2020/03/24/nyregion/coronavirus-new-york-
   update.html.


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   CDC to reduce transmission, is prohibited in jails and prisons because of its

   alcohol content.23 Health experts worry that no matter what precautions are

   taken in crowded prisons, these facilities may become incubators for the

   COVID-19 disease.24 That certainly proved true during the 2009 H1N1

   epidemic: many jails and prisons dealt with high numbers of cases because

   they could not maintain the level of separation and sanitation necessary to

   prevent widespread infection.25 For all these reasons, the Prison Policy

   Initiative has called on American jails and prisons to release medically fragile

   and older adults, noting that these persons are at high risk for serious

   complications and even death from COVID-19.26

          Again, Mr. Le remains at risk for reinfection, his “long haul” symptoms

   raise serious questions about the safety of vaccinating him, and given that

   COVID-19 may well have wrought lasting damage to his health, there is ample

   reason to worry that he will not be as lucky if infected again. Given all that,

   plus the impossibility of protecting him from the virus while he remains

   imprisoned, the Court should grant Mr. Le compassionate release.

D. THE RELEVANT § 3553(a) FACTORS FAVOR COMPASSIONATE RELEASE

          In considering a motion for compassionate release, 18 U.S.C.



   23 Keri Blakinger and Beth Schwarzapfel, “How Can Prisons Contain Coronavirus When Purell
   is Contraband?,” ABA Journal (March 13, 2020), available at
   https://www.abajournal.com/news/article/when-purell-is-contraband-how-can-prisons-
   contain- coronavirus.
   24 Michael Kaste, Prisons and Jails Worry About Becoming Coronavirus ‘Incubators’, NPR

   (Mar. 13, 2020), https://www.npr.org/2020/03/13/815002735/prisons-and-jails-worry-
   about-becoming-coronavirus-incubators.
   25 “Prisons and Jails are Vulnerable to COVID-19 Outbreaks,” The Verge (Mar. 7, 2020),

   available at https://bit.ly/2TNcNZY.
   26 Peter Wagner & Emily Widra, No Need to Wait For Pandemics: The Public Health Case for

   Criminal Justice Reform, Prison Policy Initiative (Mar. 6, 2020), https://www.prisonpolicy.org/
   blog/2020/03/06/pandemic.


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§ 3582(c)(1)(A) directs courts also to take into account “the [sentencing] factors

set forth in section 3553(a) to the extent that they are applicable.” Here, a

review of the Section 3553(a) factors and Mr. Le’s release plan of home

confinement for the unserved portion of his original term of imprisonment all

favor granting him compassionate release under the First Step Act of 2018 and

the CARES Act of 2020.

      Mr. Le’s diminished health, combined with the COVID-19 crisis, provides

ample justification for the Court to conclude that his current personal history

and characteristics favor resentencing under the § 3553(a) factors. The same

conditions also show indicate that Mr. Le poses no credible threat to the safety

of the public if he were now released to home confinement.

      Releasing Mr. Le due to the “extraordinary and compelling reasons”

presented by the current threat of a novel contagion also would not diminish

the seriousness of the offenses of conviction, but it would honor Congress’s

intent to offer courts greater flexibility to reduce sentences when changed

circumstances justify a second look. Mr. Le’s diminished physical health and

the existence of the COVID-19 virus within the facility where he is held,

together with his inability to take the precautions the CDC recommends for

remaining safe during the outbreak, warrant a reduced sentence in his case.

      Finally, Mr. Le has a viable release plan. Upon his release, Mr.

Le can live with his uncle, Hai Phi, at the home that Mr. Phi owns in

Dorchester, Massachusetts. Mr. Phi is committed to supported Mr. Le’s

rehabilitation and has the financial means to provide for his physical

needs. Other members of Mr. Le’s immediate family—including both of his



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      parents, Long Le and Nhung To, his grandfather John Vinh Le, and his

      adult brother Duy Le—would also reside at the house and provide Mr. Le

      with the emotional support to facilitate his rehabilitation.

            To be sure, Mr. Le has been convicted of a violent offense (kidnapping),

      and the seriousness of that offense cannot be minimized. At the same time,

      however, it bears repeating that two of Mr. Le’s co-defendants were charged

      with exactly the same crime, both have already completed their terms of

      imprisonment, and Mr. Le has already served more prison time for that

      crime than both of them combined. To counsel’s knowledge, his behavior

      while imprisoned has been exemplary. His serious medical vulnerability

      should assuage any residual concern this Court might have about whether

      Mr. Le poses any threat to the community. He does not.

IV.   CONCLUSION

            For these reasons, Mr. Le has shown compelling reasons that warrant a

      reduction of his sentence under 18 U.S.C. § 3582(c)(1)(A). Mr. Le poses no

      danger to any other person or the community, and the § 3553(a) factors

      support a reduction. Mr. Le therefore asks that the Court grant this motion

      and order his compassionate release by either reducing his term to time served,

      starting supervised release, or ordering home confinement for the balance of his

      term until October 2, 2022.

                                                 Respectfully Submitted,


      Date: 03/13/2021                           /s/ Vivianne Jeruchim_______
                                                 Vivianne Jeruchim, Esq.
                                                 BBO #547598
                                                 Jeruchim & Davenport, LLP
                                                 50 Congress St., Suite 615


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                                            Boston, MA 02109
                                            617/720-6047

                          CERTIFICATE OF SERVICE

      I hereby certify that this document, filed through the ECF system, will be
sent electronically to the registered participant on March 13, 2021.

Date: 3/13/2021                      /s/ Vivianne Jeruchim______




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